






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00463-CR

NO. 03-09-00464-CR






Adan Ricardo Torres, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NOS. D-1-DC-06-206427 &amp; D-1-DC-07-300202, 

HONORABLE CHARLIE F. BAIRD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	In 2007, appellant Adan Ricardo Torres was convicted of possession of cocaine and
placed on ten years' community supervision.  In 2008, he was convicted of burglary of a habitation
and given three years' deferred adjudication, running concurrently with his supervision in the earlier
drug case.  In 2009, the State filed motions to revoke his community supervision in his drug case and
to proceed with an adjudication of guilt in his burglary case.  Following a hearing, the trial court
granted the State's motions, sentencing appellant to concurrent sentences of two years for the drug
charge and twelve years for the burglary charge.  Appellant's appointed attorney has filed a brief
concluding that the appeal is frivolous and without merit.  

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974).  Appellant's attorney sent appellant a copy of the brief and advised
him that he had the right to examine the record and file a pro se brief.  See Anders, 386 U.S. at 744;
Jackson v. State, 485 S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We have reviewed the evidence presented to the jury and the procedures that
were observed and find nothing in the record that might arguably support the appeal.  We grant
counsel's motion to withdraw and affirm the judgment of conviction. (1) 


					___________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   May 12, 2010

Do Not Publish
1.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


